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                           Exhibit 31
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  Published Peer-reviewed Evidence Relevant to Determining Adverse Impacts on Health
  From Increased Exposure, and Benefits to Community Health From Reduced Exposure to
  Highway Pollution.

  Attachment #
           1.    Marie-Cecile G. Chalbot et al., Trends of Non-Accidental, Caridovascular,
                 Stroke and Lung Cancer Mortality in Arkansas are Associated with Ambient
                 PM2.5 Reductions. 11 International Journal of Environmental Research and
                 Public Health 7442 (2014).
                      Abstract: The cardiovascular and stroke mortality rates in Arkansas are among the
                      highest in the USA. The annual trends of stroke and cardiovascular mortality are barely
                      correlated to smoking cessation; while the prevalence of risk factors such as obesity;
                      cholesterol and hypertension increased over the 1979–2007 period. The study
                      determined the effect of chronic exposure to PM2.5 on non-accidental; cardiovascular;
                      stroke and lung cancer mortality in Arkansas over the 2000–2010 period using the
                      World Health Organization’s log-linear health impact model. County chronic exposures
                      to PM2.5 were computed by averaging spatially-resolved gridded concentrations using
                      PM2.5 observations. A spatial uniformity was observed for PM2.5 mass levels
                      indicating that chronic exposures were comparable throughout the state. The reduction
                      of PM2.5 mass levels by 3.0 µg/m3 between 2000 and 2010 explained a significant
                      fraction of the declining mortality. The effect was more pronounced in southern and
                      eastern rural Arkansas as compared to the rest of the state. This study provides evidence
                      that the implementation of air pollution regulations has measurable effects on mortality
                      even in regions with high prevalence of major risk factors such as obesity and smoking.
                      These outcomes are noteworthy as efforts to modify the major risk factors require
                      longer realization times.

            2.   W. James Gauderman et al., Association of Improved Air Quality with Lung
                 Development in Children. 372(10) The New England Journal of Medicine 905
                 (2015).
                      ABSTRACT:

                      BACKGROUND

                      Air-pollution levels have been trending downward progressively over the past several
                      decades in southern California, as a result of the implementation of air quality-control
                      policies. We assessed whether long-term reductions in pollution were associated with
                      improvements in respiratory health among children.

                      METHODS

                      As part of the Children’s Health Study, we measured lung function annually in 2120
                      children from three separate cohorts corresponding to three separate calendar periods:
                      1994–1998, 1997–2001, and 2007–2011. Mean ages of the children within each cohort
                      were 11 years at the beginning of the period and 15 years at the end. Linear-regression
                      models were used to examine the relationship between declining pollution levels over
                      time and lung-function development from 11 to 15 years of age, measured as the
                      increases in forced expiratory volume in 1 second (FEV1) and forced vital capacity
                      (FVC) during that period (referred to as 4-year growth in FEV1 and FVC).




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                     RESULTS

                     Over the 13 years spanned by the three cohorts, improvements in 4-year growth of both
                     FEV1 and FVC were associated with declining levels of nitrogen dioxide (P<0.001 for
                     FEV1 and FVC) and of particulate matter with an aerodynamic diameter of less than 2.5
                     µm (P = 0.008 for FEV1 and P<0.001 for FVC) and less than 10 µm (P<0.001 for FEV1
                     and FVC). These associations persisted after adjustment for several potential
                     confounders. Significant improvements in lung-function development were observed in
                     both boys and girls and in children with asthma and children without asthma. The
                     proportions of children with clinically low FEV1 (defined as <80% of the predicted
                     value) at 15 years of age declined significantly, from 7.9% to 6.3% to 3.6% across the
                     three periods, as the air quality improved (P = 0.001).

                     CONCLUSIONS

                     We found that long-term improvements in air quality were associated with statistically
                     and clinically significant positive effects on lung-function growth in children. (Funded
                     by the Health Effects Institute and others.

           3.   Rebecca Massa Nachman et al., Intrauterine Inflammation and Maternal
                Exposure to Ambient PM2.5 During Preconception and Specific Periods of
                Pregnancy: The Boston Birth Cohort. 124(10) Environmental Health
                Perspectives 1608 (2016).
                     ABSTRACT:

                     BACKGROUND: Prenatal exposure to ambient PM2.5, (i.e., fine particulate matter,
                     aerodynamic diameter ≤ 2.5 µm) has been associated with preterm birth and low birth
                     weight. The association between prenatal PM2.5 exposure and intrauterine
                     inflammation (IUI), an important risk factor for preterm birth and neurodevelopmental
                     outcomes, has not been evaluated.

                     OBJECTIVES: We aimed to investigate the association between maternal exposure to
                     PM2.5 and IUI in the Boston Birth Cohort, a predominantly urban low-income minority
                     population.

                     METHODS: This analysis included 5,059 mother–infant pairs in the Boston Birth
                     Cohort. IUI was assessed based on intrapartum fever and placenta pathology. PM2.5
                     exposure was assigned using data from the U.S. EPA’s Air Quality System. Odds ratios
                     (OR) and 95% confidence intervals (CI) quantified the association of maternal PM2.5
                     exposure during preconception and various periods of pregnancy with IUI.

                     RESULTS: Comparing the highest with the lowest PM2.5 exposure quartiles, the
                     multi-adjusted association with IUI was significant for all exposure periods considered,
                     including 3 months before conception (OR = 1.52; 95% CI: 1.22, 1.89), first trimester
                     (OR = 1.93; 95% CI: 1.55, 2.40), second trimester (OR = 1.67; 95% CI: 1.35, 2.08),
                     third trimester (OR = 1.53; 95% CI: 1.24, 1.90), and whole pregnancy (OR = 1.92; 95%
                     CI: 1.55, 2.37).

                     CONCLUSIONS: Despite relatively low exposures, our results suggest a monotonic
                     positive relationship between PM2.5 exposure during preconception and pregnancy and
                     IUI. IUI may be a sensitive biomarker for assessing early biological effect of PM2.5
                     exposure on the developing fetus.




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           4.   Quian Di et al., Association of Short-Term Exposure to Air Pollution With
                Mortality in Older Adults. 318(24) JAMA 2446 (2017).
                     ABSTRACT:

                     Importance—The Environmental Protection Agency (EPA) is required to re-examine
                     its National Ambient Air Quality Standards (NAAQS) every 5 years, but evidence of
                     mortality risk is lacking at air pollution levels below the current daily NAAQS, in
                     unmonitored areas and for sensitive subgroups.

                     Objective—To estimate the association between short-term exposures to ambient PM
                     2.5 ozone and at levels below the current daily NAAQS and mortality in the continental
                     US.

                     Design, Setting, and Participants—Case-crossover design and conditional logistic
                     regression to estimate the association between short-term exposures to PM 2.5 and
                     ozone (mean of daily exposure on the same day of death and one day prior) and
                     mortality in 2-pollutant models. The study included the entire Medicare population from
                     January 1, 2000 to December 31, 2012 residing in 39,182 zip codes.

                     Exposures—Daily PM 2.5 and ozone levels in a 1 km × 1 km grid were estimated using
                     published and validated air pollution prediction models based on land use, chemical
                     transport modeling, and satellite remote sensing data. From these gridded exposures,
                     daily exposures were calculated for every zip code in the US. Warm-season ozone was
                     defined as ozone levels for the months April to September of each year.

                     Main Outcome and Measure—All-cause mortality in the entire Medicare population
                     from 2000 to 2012.

                     Results—During the study period, there were 22,433,862 million case days and
                     76,143,209 3 control days. Of all case and control days, 93.6% had PM 2.5 levels below
                     25 µg/m , during which 95% of deaths occurred (21,353,817 of 22,433,862), and 91.1%
                     of days had ozone levels below 60 ppb, during which 93.4% of deaths occurred
                     (20,955,387 of 22,433,862). The baseline daily mortality rate was 137.33 and 129.44
                     (per 1 million persons at risk per day) for the entire year and for the warm season,
                     respectively. Each short-term increase of 10 µg/m 3 in PM 2.5 (adjusted by ozone) and
                     10 ppb (parts-per-billion, 10 −9 ) in warm-season ozone (adjusted by PM 2.5 ) were
                     statistically significantly associated with a relative increase of 1.05% (95% confidence
                     interval [CI]: 0.95%, 1.15%) and 0.51% (95% CI: 0.41%, 0.61%) in daily mortality rate,
                     respectively. Absolute risk differences in daily mortality rate were 1.42 (95% CI: 1.29,
                     1.56) and 0.66 (95% CI: 0.53, 0.78) per 1 million persons at risk per day. There was no
                     evidence of a threshold in the exposure-response relationship.

                     Conclusions and Relevance—In the US Medicare population from 2000-2012, short-
                     term exposures to PM 2.5 and warm-season ozone were significantly associated with
                     increased risk of mortality. This risk occurred at levels below current national air quality
                     standards, suggesting that these standards may need to be reevaluated.

           5.   Quian Di et al., Air Pollution and Mortality in the Medicare Population.
                376(26) The New England Journal of Medicine 2513 (2017).
                     ABSTRACT

                     BACKGROUND



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                     Studies have shown that long-term exposure to air pollution increases mortality.
                     However, evidence is limited for air-pollution levels below the most recent National
                     Ambient Air Quality Standards. Previous studies involved predominantly urban
                     populations and did not have the statistical power to estimate the health effects in
                     underrepresented groups.

                     METHODS

                     We constructed an open cohort of all Medicare beneficiaries (60,925,443 persons) in the
                     continental United States from the years 2000 through 2012, with 460,310,521 person-
                     years of follow-up. Annual averages of fine particulate matter (particles with a mass
                     median aerodynamic diameter of less than 2.5 µm [PM 2.5]) and ozone were estimated
                     according to the ZIP Code of residence for each enrollee with the use of previously
                     validated prediction models. We estimated the risk of death associated with exposure to
                     increases of 10 µg per cubic meter for PM 2.5 and 10 parts per billion (ppb) for ozone
                     using a two-pollutant Cox proportional hazards model that controlled for demographic
                     characteristics, Medicaid eligibility, and area-level covariates.

                     RESULTS

                     Increases of 10 µg per cubic meter in PM2.5 and of 10 ppb in ozone were associated
                     with increases in all-cause mortality of 7.3% (95% confidence interval [CI], 7.1 to 7.5)
                     and 1.1% (95% CI, 1.0 to 1.2), respectively. When the analysis was restricted to person-
                     years with exposure to PM2.5 of less than 12 µg per cubic meter and ozone of less than
                     50 ppb, the same increases in PM2.5 and ozone were associated with increases in the
                     risk of death of 13.6% (95% CI, 13.1 to 14.1) and 1.0% (95% CI, 0.9 to 1.1),
                     respectively. For PM2.5, the risk of death among men, blacks, and people with
                     Medicaid eligibility was higher than that in the rest of the population.

                     CONCLUSIONS

                     In the entire Medicare population, there was significant evidence of adverse effects
                     related to exposure to PM2.5 and ozone at concentrations below current national
                     standards. This effect was most pronounced among self-identified racial minorities and
                     people with low income. (Supported by the Health Effects Institute and others.)

           6.   Anna M. Font et al., Road Construction: Emissions Factors and Air Quality
                Impacts. 16 Geophysical Research Abstracts (2014).
                     ABSTRACT:

                     Very few studies have investigated the air pollution impacts of road construction. Over
                     a 17 month period a congested main road in south east London was widened from two
                     lanes to four. Emissions factors for road construction were determined and a notable
                     deterioration in residential air quality was found with the final expanded road layout.

                     Air quality monitoring sites measuring PM10, PM2.5, NOX, NO2and meteorological
                     variables were deployed on both sides of the road construction to quantify ambient air
                     quality before, during and after the completion of the road works, with additional
                     measurements from a nearby background site. PM10 samples were collected for
                     oxidative potential measurements.

                     PM10 was the only pollutant to increase during the construction; mean PM10 from the
                     road increased by 15g m-3 during working hours; weekdays between 6 am and 5 pm;
                     and on Saturdays between 6 am and 12 pm, compared to concentrations before the road


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                     works. During the construction the number of days with daily mean PM10
                     concentrations greater than 50g m-3 was more than 35 for both sides of the road,
                     breaching the European Union Limit Value (LV).

                     Downwind-upwind differences were used to calculate real-world PM10 emissions
                     associated to the construction activity by means of box modelling. The quantity of
                     PM10 emitted per area and month of construction was 0.0009 kg PM10 m-2 month-1
                     for the construction period. This emission factor was similar to the one used in the UK
                     National Atmospheric Emissions Inventory (NAEI). Worst case construction emissions
                     factors were 0.0105 kg PM10 m-2 month-1, compared to 0.0448 kg PM10 m-2 month-1
                     and 0.1038 kg PM10 m-2 month-1 used in current European and US inventories,
                     respectively.

                     After the completion of the road widening an increase in all pollutants was measured
                     during rush hour peaks: 2-42, respectively, leading to a breach of the NO2annual mean
                     LV at this location for the first time. The increased air pollution was associated with an
                     increase in the number of cars, taxis and LGVs. The glutathione dependent oxidative
                     potential did not increase during the construction period but a significant increase was
                     found when the new widened road was in operation.

           7.   Hind Sbihi et al., Perinatal Air Pollution Exposure and Development of
                Asthma from Birth to Age 10 Years. 47 European Respiratory Journal 1062
                (2016).
                     ABSTRACT:

                     Within-city variation in air pollution has been associated with childhood asthma
                     development, but findings have been inconsistent. We examined whether perinatal air
                     pollution exposure affected asthma onset during “preschool and “school age” periods in
                     a population-based birth cohort.

                     65,254 children born between 1999 and 2002 in the greater Vancouver metropolitan
                     region were followed until age 10 years using linked administrative health databases.
                     Asthma cases were sex- and age-matched to five randomly chosen controls.
                     Associations between exposure to air pollutants estimated with different methods
                     (interpolation (inverse-distance weighted (IDW)), land use regression, proximity) and
                     incident asthma during the pre-school (0–5 years) and school age (6–10 years) periods
                     were estimated with conditional logistic regression.

                     6948 and 1711 cases were identified during the pre-school and school age periods,
                     respectively. Following adjustment for birthweight, gestational period, household
                     income, parity, breastfeeding at discharge, maternal age and education, asthma risk
                     during the pre-school years was increased by traffic pollution (adjusted odds ratio using
                     IDW method per interquartile increase (95% CI): nitric oxide 1.06 (1.01–1.11), nitrogen
                     dioxide 1.09 (1.04–1.13) and carbon monoxide 1.05 (1.01–1.1)). Enhanced impacts
                     were observed amongst low-termbirthweight cases. Associations were independent of
                     surrounding residential greenness.

                     Within-city air pollution variation was associated with new asthma onset during the pre-
                     school years.

           8.   Christa Tischer et al., Urban Green and Grey Space in Relation to Respiratory
                Health in Children. 49 European Respiratory Journal (2017).



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                     ABSTRACT:

                     We assessed the effect of three different indices of urban built environment on allergic
                     and respiratory conditions.

                     This study involved 2472 children participating in the ongoing INMA birth cohort
                     located in two bio-geographic regions (Euro-Siberian and Mediterranean) in Spain.
                     Residential surrounding built environment was characterised as 1) residential
                     surrounding greenness based on satellite-derived normalised difference vegetation index
                     (NDVI), 2) residential proximity to green spaces and 3) residential surrounding
                     greyness based on urban land use patterns. Information on wheezing, bronchitis, asthma
                     and allergic rhinitis up to age 4 years was obtained from parent-completed
                     questionnaires. Logistic regression and generalised estimating equation modelling were
                     performed.

                     Among children from the Euro-Siberian region, higher residential surrounding
                     greenness and higher proximity to green spaces were negatively associated with
                     wheezing. In the Mediterranean region, higher residential proximity to green spaces was
                     associated with a reduced risk for bronchitis. A higher amount of residential
                     surrounding greyness was found to increase the risk for bronchitis in this region.

                     Associations between indices of urban residential greenness and greyness with
                     respiratory diseases differ by region. The pathways underlying these associations
                     require further exploration.

           9.   Nicholas C. Newman et al., Traffic-Related Air Pollution and Asthma Hospital
                Readmission in Children: A Longitudinal Cohort Study. 164(6) Journal of
                Pediatrics 1296 (2014).

                     ABSTRACT:

                     Objective—To examine the association between exposure to traffic-related air pollution
                     (TRAP) and hospital readmission for asthma or bronchodilator-responsive wheezing.

                     Study design—A population-based cohort of 758 children ages 1–16 years, admitted
                     for asthma or bronchodilator-responsive wheezing was assessed for asthma readmission
                     within 12 months. TRAP exposure was estimated using a land use regression model
                     using the home address at index admission; TRAP was dichotomized at the sample
                     median (0.37 µg/m 3 ). Covariates included allergen-specific IgE, tobacco smoke
                     exposure, and social factors obtained at enrollment. Associations between TRAP
                     exposure and readmission were assessed using logistic regression and Cox proportional
                     hazards.

                     Results—Study participants were 58% were African American (AA), 32% white; 19%
                     were readmitted within 12 months. Children with higher TRAP exposure were
                     readmitted at a higher rate overall (21% v. 16%, p = 0.05); this association was not
                     significant after adjusting for covariates (adjusted OR 1.4; 95% CI 0.9–2.2). Race
                     modified the observed association: white children with high TRAP exposure had three-
                     fold increased odds of asthma readmission (OR 3.0; 95% CI 1.1–8.1), compared with
                     low exposed whites. TRAP exposure among AA children was not associated with
                     increased readmission (OR.1.1; 95% CI 0.6–1.8). TRAP exposure was associated with
                     decreased time to readmission for high TRAP-exposed white children (HR 3.2; 95% CI
                     1.5–6.7) vs. AA children (HR 1.0; 95% CI 0.7–1.4); AA children had a higher
                     readmission rate overall.



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                    Conclusions—TRAP exposure is associated with increased odds of readmission in
                    white children; this relationship was not observed in AA children.




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